       Case 2:22-cv-00184-LCB-CWB Document 439 Filed 03/08/24 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTAICIVOVALABAMA

 BRIANNA 130E, et al.,                         43,211
                                                                  -3: 28
         Plaintiffs,                            } t 5`

 and
                                               }
 UNITED STATES. OF AMERICA,                    }         Case No. 2:22-CV-184-LCB
                                               }         FILED UNDER SEAL
         Plaintiff-Intervenor,

 v.


 STEVE MARSHALL, et al.,

         Defendants.

       MOTION BY RESPONDENTS JENNIFER LEVI AND SHANNON MINTER
                    FOR LEAVE TO SUBMIT EVIDENCE

        Pursuant to the Court's February 21, 2024 Order to Show Cause (Doc. 406) (the "Order"),

Respondents Jennifer Levi and Shannon Minter seek permission to submit limited additional

evidence in connection with their briefs in response to the Order, as outlined below.

        The Order states as follows: "Any respondent who believes that additional evidence is

necessary for the Court to determine a Respondent's culpability or an appropriate sanction must

move the Court for such action by March 8, 2024 and shall set out in detail that specific additional

evidence in said filing." (Doc. 406 at 11.) The Order also provides that the responses to the Order

to Show Cause (the "show-cause briefs") are due on March 22, 2024.

        Levi and Minter seek permission to submit, in conjunction with their show-cause briefs,

short declarations attesting to (1) the fact that neither has faced any prior disciplinary issue or

sanctions matter, and (2) their career backgrounds. Levi and Minter believe that these topics may

be relevant to the Court should it decide to impose a sanction and, in an abundance of caution,




                                                 1
      Case 2:22-cv-00184-LCB-CWB Document 439 Filed 03/08/24 Page 2 of 3




want to ensure the Court has an adequate evidentiary foundation to take these factors into account.

If the Court believes that evidentiary submissions are not necessary on these topics, then Levi and

Minter will make attestations on these topics in their briefs in response to the Order.

       Accordingly, Levi and Minter respectfully request that the Court grant them leave to submit

short declarations in connection with their briefs in response to the Order.

Dated: March 8, 2024

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                                                       Minter




                                                  2
     Case 2:22-cv-00184-LCB-CWB Document 439 Filed 03/08/24 Page 3 of 3




                         CERTIFICATE OF SERVICE

       I certify that on March 8, 2024, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which will give notice of such filing to
all counsel of record.
